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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                       CASE NO.: 23-20500-CR-ALTMAN

  UNITED STATES OF AMERICA,

        Plaintiff,

  vs.

  ANGELO AGUSTIN
  COELLO CLEMENTE,

        Defendant.
                                    /

                          NOTICE OFASSIGNMENT

        The above captioned case has been assigned to the Assistant Federal

  Public Defender specified below. Please send all notices and inquiries to this

  attorney at the address listed.


                                HECTOR A. DOPICO
                                INTERIM FEDERAL PUBLIC DEFENDER

                          By:   /s/ Christian Dunham
                                Assistant Federal Public Defender
                                Florida Bar No.: 146587
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                                Tel: (305) 533-4177
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                          CERTIFICATE OF SERVICE

        I HEREBY certify that on April 23, 2024, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify

  that the foregoing document is being served this day on all counsel of record or

  pro se parties identified in the manner specified, either via transmission of

  Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.



                                        /s/ Christian Dunham




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